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           November 17, 1988


           Mr. LeOrecs DanJcls
           Assbtan1 Scaetazy tor Civil Rights
           United State:, Dcpanmcnt oCEducarlon
           400 Maryhwd Avenue S,W.
           Washington. D. C. 20202

           Re: Notl.ficatfon or Brigham Young UniverSity Exemption from Cenain                      Tide IX
                ReguJatioDS
           Dcat Assistant Secretary Daniels:

                 The pu,:P,ose oCthis corrc.spondcnceis to provide the United St4'tes DeP.artrneoi of
           Education witb official n01lfica1ionthat     Bri~Iiam Young University Iocate(i in Provo
           Utah (hereinafter referred io as •BYU11) considers itself exempt from the application ot
           34 CAA Sections 106.31,.106.32_ 106..36r 106.39 and 106.40(1>)(4),to the extenr described
           in this corrc:,poadc.cc:c, whicb regulations are published punuant to Tide IX of the
           Education Amend.menu of 1972, 20 U.S.C. Section 1681 el seg,.. a federal statu,c
           prohibiting :sex discrim.imuionfn educational _programs. BYU c~ressly requests the.
           Dc:partment lO fom,ally recognize that BYU 1S exempt from tbe applications of tbcse
           sections ber;ause the provisions of each section aro in conflict with r~ligious tcachin_g.,;
           and tenets oC the Church of 1c:sus Christ of Latter-da_y Saints (hereinafter occasionally
           referred to as ·1he Oiurcb"), a religious organizatio.uwhu:h $ponsors and controls BYU.
           ·•   As noted, BYU is owned, operated and controlled by the Church of Jesus Christ
           of Latter-day Saints and is cligiblo for exemption from lhe rc$lllatlons pursuant to 34
           CFR Section 106.12. The Cb'U.I'ch'sbeadquar1crs ara J0a1tcd m Salt Lake City, Utah.
           The Cburch ori~y         (fi;~ti;d llY'U ir.i 187.SBlld h~ s£iic;e~u cont!nuQusly and
           ultimately responsible for its OP.Cration. The BYU Board of Trust~es consists of
           persons appointed by the govcniin_gboard of the l.DS Church and over two-thirds of
           the BYU operating budget is denved direaly from appropriation$ from 1he Church.
           'While non-members ot the Churc:b are welcome to appli for adinission os srudcnis and
           for employment. all students and empll?f.eesare ~te.d               to live accordirig to a
           bcbavioral standard that i5 rooted ill the religious teacbb&, of the Cbuteb.
                 In general terms, this staadard requires one to abid1: by the standards of general
           Christian living taught by the Church: to be honest la all behavior; to respect the




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      EXHIBIT C                                                                                                1
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               personal and property rights o! others; to obey the law of the. 1and; to disavow the use
               o{ alcoholic beverages, tobacco, tea, coffee aod tnegal drugs; 10 observe prescnbcd,
               modest standards of dress a.nd grooming; to abstafo &om seX\lal rcladons outside
               marriage; and to abserve high standard$ of taste and dec:eocy. A copy .of \J1c BYU
               Code of Honor which identifies the coda of conduct e~ec:ted of the BYU instirutional
               family is anac?ied as &bibit "'A" and by reference incorporated Into this Notice of
               Exemption. Mem'bcers  a.Qdnon-mcu:nbcrsof tho Churc:b who refuse to accepl and adopt
               these standards as their own are n01 eligible for adntlssion as students or for
               employment al the University. Both historically and al prcscnfyover 90% of the BYU
               stuaents and employce.sare members   or the Church.
                     Tho controlling org~nfaauoo of BYU. tbc Cburch of Jesus Christ of Latter-day
               Saints, is a major international Christia.rt religion having a fuUy developed theology, a
               well known history spanning two centuries and a. world-wide membership presemly
               numbering over six million. Its members believe the Churc:h and its dor;tnne conlain
               the fullnC5.sof tbc Oospcl or Jesus Christ, restored by direct revelation from God to
               Joseph Smith. who was called as a prophet in the biblleal secs~ i0. 1820. Tho
               gcveming board of th.esChurch consist.5 of a First Presidency of three, a.Jong with a
               Council of Twelve Apostles, all of whom are regarded by the Church membership a.s
               apostles and propbeLS m the biblic.al seme.           While accepting the Bible as noly
               scripture. tlle Church also r~gards the Book of Monnon as another testament of Christ
               encf as holy scripture. In addition, the Church also acccpu prophetic writings as
               scripture and regards the teachin~s of currcot Church leadcr3 as religious doctrine.
               Central lo lhc Church,s theology is the view that. uu0usl1 tbc Atonement of Chri!.t,
               all mankind may be saved by obedience to the:laws azid ordinances taught by Christ.
                     Within this genera.I fl'amcwork, the Ourch teaches not only the doctrine or
               individual eternal life:, but also tho doctrine that marriages performed by proper
               authority and subject 10 cenain conditions are etemal in duraboa. Thus, the family
               unit is vic\llcd as having hfJh tbeologkal &fgnifica.c.ce,and Olurch teachings about such
               matters as marriagcil.c6asmy, abonion, and the roles of husbands, wives and children
               arc fundamental re g:fous do,trines. Toe Church also teaches that cenaln distinctions
               based on gender, particularly as they relate lo matters of family life, are botb natural
               acd r~ligiously s1gnificanL At the same timc:1 tbc Chu.r,h has a remarkable re~ord of'
               en~ouraging all of its mcmb~:s, male and temalc. to obtain as much education as
               possible and to tianic:ipatc fully in lbc economic. poli1iwll and social life of lhe
               communities iDwhkb lbc:ylive.
                     The m.issio.n Jnd p!lrposc of Bn.&ham Young UnlvcrsJt)' bu beexi officially
               articulated in iu MJ~ioaStatement of November 4. 1931, a copyor which is attached
               as ~bit      •B• 10 thJs correspondence a11d s2eoS~        in~rporated by reference. The
               mission 0£ BYU is essentially spiritual and ec!ucational The University would no1 exist
               iI it we.re no, !or tbe opporruJ:iltyto fully and freely ble1Jdthe teachinp arid infiucnec
               of the Church within botb thcs curriculum and the extra-<Urrlc:u1ar    eoviromnent oa the
               campus.
                     Below descn"bcdarc the Titlc IX re~atoiy        proYisfoas for which BYU bas
               identified a recognized exemption together With ao ~la.na1ion of 1hc religious tenets
               upon which lbe eicemptioc fs based. For p\lJ'pOSes of snaking 1bcsc requests, BYU is
               proceedlDg 011 the basis (1) that these requests for religious cxcmptioa do not limit




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        EXHIBIT C                                                                                        2
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         ~YU's rights subse~_ently t~ elaim additio.nal rcHg!ous exemptions as lhcse come ro
         hght and $ubseque~~'l to chum a broader free cxerc1.soriJ:hl berorc a judfclal body· (2)
         1tiat "religiotJstenets in Title IX's rcJJgiou.sexemption mcludu practical and specifi~
         religious teachings by duly constituted authority; (3) that BYlJ's good faith dalms
         about the existence and meaning of religious d()(1rine ar8 eotitled to a presumption. of
         validityi and (4) ,hat governmental aieocles should not assume the roJe of determining
         tbe nature and meaning of religious doctrines..            (See generally United Stales
         Dcpanmcnr or Educai;on Meq,orandum           dated February 19, 1985 regarding "Polic,
         Owdanc:c for Resolving Religious Exemption Rcquens,• to Regional CiYal Rights
         Directors by Hany     M. Singleton. Assistant Sec:reta,y for Civil Rjgbu. Depanmcnt of
         Education. and un.11edsuues   v, Ballard, 322 U.S. 78 (1944)).
              1. Segi~ ]06,31 .. BYU claims Cilempdon from. this section to the extent that
        it int~rf c:rcs wi the opcratio.a gf eittra-c:-urrlcula.r
                                                               Stt1dent ac:tlvhles in organlzations
        sponsored by the Church.       Spe,ifically, there Cldst on. campus numerous JtUdent
        congre;atioo., (called "Wards" according to Cburch nolllccclaturc) organized and
        malina1acd 1hrougb the cc;c;lesiastical channels of the SJ)<?moringChurclJ. Whether
        these organizations choose to bave activities or sub-orgaruzadonsexclusively for meu
        or Cor women is clearly a matter of Church organizatJon and should therefore be
         exompL
            ... 2. Sectjgn106;3? - l3YU clalms exemption from thu rcgu1ation 10 th" extent It
        interferes whh the University's policy of requiring sex-segregated housing by off-
        campus landlords as a conditioo oT bemg given ap2roval to 'tiouse BYU students. ThCl
        rcgulatloa allowssex-segregated housing wben provided by the: recipient, bui it appears
        to prohibit such segregation in off-campus hou.slng,     ne  tc.a(bings o( the sponsoring
        Church regarding sexual morallty and marriag~ arc inconsfstent with housing
        ar:ra.ngements i.nwhl~b sinsJe students $hare the same facilities.. For I.his same. rca.so~
        the Unlvcrshy claims the right. under i!S religious exemption, to separate srudenu in
        BYU-approvcd ho\lsing 011 tbc basis of s~ ~d 10 re~atc thls separation by
        dcsigna1~ separate buildings or wings of buildings (aJJd not merely separate
        apartmcnt5), as c.xc::lusive
                                  to on,; sc:x,both on and off campus.
        ·     3. Sc;c1ron  ]Q6,36• BYU claims exemption tromtb.Is regulation to the extent it
        may inhibit its teacbers or .cowiselors from diseus.siDg·and advisnig students conecrolng
        tbs ways in which maniage inay bo comp~red to career cbolc:es or with respect to
        other que.stion.sarlslng eoocenili3g the plaM.ing by students of their eduQuonal or
        CU'ecr plans. The s_ponsoring Orurc:b leaches \liat marriage a.Gd cbildbcariag are
        significant rcUgiouso6ligatioD.Sand that mothcn naturally baYc _greater involvcmcn~
        especially in the rearinJ ot younger children, These teachings indicate tbe need \o
        allow room for some.diff~cnccs between couiucling for tncn and counselingfor women.
             4. 34 CFR Section 1~9 and Section 106 40Q>)(4).. lbe OCfice for Civil Rights
        (OCR}. U,S. Oe11artmcnt of~ uc:ation has lntcrprcted tbesc rcguladoas to require the
        University to offer, -it offered at all, student bcaltb Insurance poUcies whicb treat
        P.regnanCJthe same as any other temporal)' d~bWiy in order to be 1ncompliance with
         ibere~lltion.t      th&Univartl[IJ
                     HyrQquiring      to tr@iu      _WlY
                                            prsanllDN
                                                   ru: olber
        temporary disability with re.spe~ cosingJo :itudcuts would compc;T-13Y'C1's
                                                                                direct and/or
        indirect apP.roval and suppon of premarital se.t and abortion. ?be Church teaches a.s
        fu.ndamecu.il dorulne that rigbteous indi'iiduals must abstain Cron, s~al     relations




   EXHIBIT C                                                                                      3
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                           outside of marriage aJJd.~"Pl     In rare cases. must not participate In nor 0btain an
                           abortion.                  ·
                                        Wlth r~~ ta pregnancy __related. conditi¢ns of roarricd women. the
                           application of lhe rcgulatioii as to BYU is no, abonion neutral. but rather has the
                           practical impact on application 10 encourage abortion and ta financially discriminate
                           against those institutions. such as BYU. wh!cb promote the reli~ous belief that in most
                           cases full ..tcrm delivery is the only morally acceptable-; rcso1uuoa of pregnancy. For
                           example. Jnsuran~ premiums paid by other colleges and universities not sharing the
                           LOS beliefs on abonioa. will probably not increase substantially upon the extension of
                           dlsabltlty coverage lo prcgnanc.y because students at these univcrsiLiCimay elect 10.
                           terminate tbcs_51rcpian~ throu2h an abortion (costing several hundred dolfars) while
                           students at BYU will l>e requTred, according to lDS religious teneu, to deliver the
                           ba'by full term ~stiag several thou!.and dollars.. AS a result_ 1be impact of the law is
                           not abonion neuual beca~ the Aa P-rovldcs a practJcal inc~otJvcto perform abortion
                           and a c:oncomitant Jin.anc:ialp_enalty for those mstitulio.DSpromoting religious· tenets
                           whtc;h prohibit abontoa. BYU ls unwilling to accept abortion as ~ cb"p, simple a.ad
                           facile mechanism to keep inswarlc:ecosts witbin r~onable finan~al limits.
                                 In addition. a.sthe rcgub.tJons uow sta:i.d1 JDarrl~d srudcuts who ~ome pregnant
                           1c violat!on of I.bedoctrine or ~baslity lhrough c~r~·marltal mcal'tSwould be afforded
                           maternity benefits. Thu   would also be in violation of the fundamental Church doctrine
                           of chastity in marriage.
                                 Brigham Youn~versicy         Js a. church-related c:.ollcge with a serious reli~ous
                           ~onimlrment at the         of iu educational mission. Wlth the enactment of the Civil
                           R.fgbts Restoration Act of 1988, the Univcr5ity began a c:are.fuland deliberalive process
                           to assess the possi"blc adverse impact of the Act en lh_p University. Because it is
                           possible \hat thcro m~)' be v~g       interpretations ot Tide IX and its regulations ~ct
                           to be resolved, the Univcnity determin~d to protect its vital Interests against the
                           possibility of ~ future adverse dete.rmlnations as to the u,caning of lhcsa regulations
                           with thJs Notice of &emption. Tbc Universit)'., however, fuJly supporu tbc goal of
                           equal opporrunityand non-di~ation           on tbe ba-sis o[ gender while at the same time
                           prescM.tlg its CoastitutlonalRights ot free exercise of rellgior:i. Yourprompt attention
                           in evaluating this Notice would be greatly appreciated. U I can be o[ any assistance
                           to you in completing this task or it you requfre additional infannation. please do Dot
                           hesltate to cocmc:t me.                                        ·

                                                                     Smcerely,


                                                                     Jcffrey R. Holtlllld




                     EXHIBIT C                                                                                         4
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                                                                                                                              r, UC::
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                             UNJT£D STATES         I>EP..utTMENT           OF EDUCATION
                           0Yl'1C£ Of" TH£ A.SSIS1'"Nt"SECRP.:T,1\lltV           ft)R CIVIL RIC~


                                                  JAN 61989
     Dr. Jeffr-ey   R. tfo11and
     President
     Br1gha~ Toung Unfversfty
     D-346 A$B
    Provo, Utah 84602
    Dear Dr. Holland:
    The Off1c~  for Civil R1ght.s (OCR.) of the Department of Educatfon has ccmpl eted
    its review of yaur letter. dat~d ijove~~er 11. 1988. requesting a religious
    exe~ption from certain sections of the regulation inplement1ng Title IX
    of the Education Alllendroents
                                 of 1972 (Tftl~ IX).
    In your request 1etttr. you pl"Cvided1nfonnat1on that establishes that Brigham
    Young Universft,y (BYU)1s controlled by a relfg1ous arganfzatfon and that tenets
    followed by this organfzat1on ~onflfct with spec1f1c sec~fons of the Tit1e IX
    regulition   (copy en~losed). Vou deicribed fn 1ou~ request letter certafn polfcfe$
    practiced at BYUas being consistent with the tenet~ of the rGligfous organizatfon
    that controls the fnstitutfon.   These po11c1es would violate certafn sections of
    the regulation implementing Title IX absent a re11g1ou~ exemptfon. Therefore. I
    ~m granting BYUan exemption to thosa sections of the Title t~ regulation appro-
    prfate to your request letter.   Tha exemption is l1111ftedta the extent that
    compliant~ wfth the Title tx regulation conflicts with the relfgfous tenets
    followed by BYU. BrighamJoung Unfvers1ty is hereby exe~ptedfrom the require-
    ments of the following sections of the Tftle IX regulntion: 34 c.F.R. SS 106.31,
    106.32. 106.36, 10&.Jg. and lOG.40. The basis for this decfsfon to grant this
    exemp~1cn is discussed in further detail be1o-.
    Your request 1etter fndicates that BYU1s controlled by the Church of Jesus
    Christ of Latter-day Saints {Church) and ~hat BYUprac~1ces the tenets of the
    Church and is owned and operated b1 the Church. This rel~tionshfp between the
    Church end the UntYers1cyadequately establishes that the University 1s contro1led
    by a re1fg10us org~ntzation as fs required for cons1der~tign for e~emptfon under
    S 106.12 of the Title IX regulatton.       ·
    rn your request 1etter. you fndicate that there ~xist on BYUca~pus •numerous
    student co"9re9atio~s (called 'Wards'• ae~ordfng to Church nanenc1ature) organized
    and ma1ntained through the ecclesiastical channels of the sponsoring church-•
    Your letter states that whether these organitat1ons choose to have actfvi~1es or
    su~organ1zations exelusfvely for men or for wcmenis a ~atter of Church organiza-
    tion. Based on the$e principtes, atu has requested and is granted b1 thfs letter.
    exemption f~Oll'I 34 C.F.R. S 106.31 1 regarding education programs and aet1vities, to
    the extent th~t i 106.31 conf1fcts wfth the opertt1on ot extracurricular student
    activftfes and policies ~f student religious organizations at 8YU.




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    EXHIBIT C                                                                                                                    5
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      .'our letter aUo fnd1eatas that •tt]he teaching,; of the sponsorfng Church
     regarding sexual-nio~a11ty and marriage a~e inconsistent wfth housing arra"ge-
     ~ents 1h which single stuijents !hare the !me fac1l1tfes.•    8YUel1fms exemption
     from 34 C.F.R. $ 106.32 •to the e~tent that it interferes w1tb the Univers1ey•s
     polfcy of requfr1ng se~•segregated housing by off-eampu$ 11nd1ords as a eond1t1on
     or being given approv1l to house BYUstudents.•     B&sedon theie principl~$, 9YU
     has requested a~d is granted by this 1etter, exemption fr011 34 c.F.~. S 106.32,
     wnfch addresses housing.
     Your 1etter states that M(t]he sponsoring tnurch taachas that marriage and
     chfldbetring are s1gn1ffcant relfg1aus ob11gat1ons and that mothers naturally
     have greater 1nvo1~ement. e~pecia11y in the reari~g of younger children.     These
     teachfngs indicate the need to allow raCl'IIfor $Clle differences between coun$el1ng
     fQr men a~d counse1in~ for w01111n.•84sed on these principles. BYUhas requested
     and is granted b1 thfs letter, exemption from 34 C.F.R. 5 106.36, whfch pert41n$
     to counse11ng of student~ and applfc~nts for admis51oo.
     Ycur request letter states:   •sy requiting the Uo1versfty to treAt prag~ancy a$
     any other temporar, dfsab111ty vith r1spect to s1ng1e students would compe1 BtU's
     dfract and/or indirect app~ava1 and support or premarfta1 sex and abor~fon. The
     Church teaches as fundamental doctrine th1t rfphteous ind1vtdua1s ~ust abs~afn
     frcm sexual re1ations out,fde of marrfage and. e~cept 1n rare cases. mu&t not
     partft1pate fn nor obtain an abortion.• Further. your letter adds that provis1on
     of m~~ernity benefits tc ~arr1ed students who becc,mep~egnant through extramarital
     ~eans would vfolata the fundamental Church do~trfne of chastity in marrfige. Ba~ed
     on these prfnc{ples, BYUhas requested and is granted by thfs letter. exemption to
     34 C.F.R. SS 106.39 and 106.40, r~gardtng the provision of health and insurance
     benefits and serv1ces ta sing1e ctudents and oarrted students who beccne pregnant
     outside af marrfage.
     four letter a1so states that, wi~h respect to ptegnancy-related conditions of
     marrfed wcmen, BYUpromotes the relfgious bclfef th4t in most c1sesa full-term
     delivery. not abortion, is the only mor1llt acceptable reso1utfon or pregnancy.
     As iou know, the C1Y11Rights Restoration Act of 1987 (Actl amend~T1t1e IX. one
     of the provisions of the Act $tates that under T1t1~ IX, provisfon of or payment
     for benafits or services re1ated to abortion 1s neither required nor prohibited.
     Although OCRhas not yet amended its regulations to conronn to the Act OCR
     interprets its regulations 1n accoraance lftth the requirements of the let. There-
     fore, under the Tftle IX regulat1on as 1nterpretad by OCR. BYUfs not required to
     prcvfde or p~ for benefi~s or serv1ces related ta an abortion. As so interpreted.
     the litle IX regulatton does not conflict with the re1fgio~s tencti of BYU. Thus.
     the e~emptfons to SS106.39 and 105.40 are granted, subject to the lfmftatfons
     discussed 1n the precedfng paragrJp~.




              EXHIBIT C                                                                           6
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          . 1   3 • Or. Jeffrey   R~~   Holland
(
     ,nfs lette~ should not be construed to grant exe~pc1on frOII any section of the
    Title IX r~gulat1on noi spee1f1c411y ment1oned. In ~he ~vent that OCRreceives
    a canplalnt ag1fnst BYU»w~are obligated to detenn1ne fn1tfa11y whether the
    a11egatfons fall vithfn t~e exe11ptionhere gr~nted. Alto. 1n the unlfkely event
    that I eamp1A1nant111tges t~Gt the practi~es fo11o~ed by BYUare not b~sed on
    the rel(g1oU$ tenets of the contro11ing organfzat1on. OCR1$ ob1191ted to contact
    ~he controlling organization to verfty ~hose tenets.    If the org1niz4tfon provides
    an interpretation  of tenets that has a different practical impact than th•t
    described by BYU.or ff the organ1zat1on dentas that it controls BYU,this             ·
    e~empt1on w111 be rescinded.
    I hope thi$ 1etter          responds ful1y to yo~r     request.      lf xou hive any questions.
    please do net hasftate to cont1ct the Denver Regional Offfce f0r C1v11 Rights.
    The tddress 1s:
                                          or. Gflbert D- R~an
                                          Regional Civil Rf ghts Dfrector
                                          Office for chn Rights, R.eg1onVIII
                                          Department of Education
                                          Federal Office Bui1d1ng
                                          1961 Stout Street. 3rd f1oor - 08-7010
                                          Denver. Co1or~do 80294-3608.
                                                       Sincerely,

                                                  ~~A,&
                                                      s.
                                                       LeGree    Daniels
                                                                                     __
                                                                                     ·l
                                                       A$S1stan~ Secretary
                                                         for Civ11 ~ights
    £nc1osura
    cc:         Dr. Gilbert   D. Rcmt1n, R.egionai Civil   Right.s    Ofrector,   Rwgfon VlII ·




                 EXHIBIT C                                                                                   7
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    OFFICE       OF THE      GENERAL    COUNSEL                                                     BRIGHAM YOUNG UNIVERSITY
    EUGENE           H. BRAMHAL~    •
                                                                                                                         A·357 ASB
        0
                 tltePresidmt
            ?11110
            ti Co1111ul                                                                                                PO BOX 21333

                                                                                                       PROVO, UTAH 84602·1333
    H. HAL VISICK
    As.soriateCmrral cd111ud                                                                                       (801) 378-3089

    MICHAEL           R. ORME                                                                              FAX NO. (801) 378-7521
    As.roriauGmtml Co1111.<d

    DAVID      B. THOMAS
    A1si.rta111
             Cmrml Counsrl


                                                            August 25, 1997


                       Ms. Norma Cantu
                       Assistant Secretary for Civil Rights
                       United States Department of Education
                       400 Maryland Avenue SW
                       Washington, D.C. 20202

                      RE:       Request for Religious Exemption from
                                Title IX Regulation: 34 CFR § 106.60

                      Dear Secretary Cantu

                             The purpose of this letter is to provide the United States Department of
                      Education with official notification that Brigham Young University, located in Provo,
                      Utah (hereinafter referred to as "BYU" or "the University") considers itself exempt
                      from the application of 34 CFR § 106.60, to the extent described in this
                      correspondence, which regulations are also published pursuant to Title IX of the
                      Education Amendments of 1972, 20 USC §1681 et. seq., a federal statute prohibiting
                      sex discrimination in educational programs. BYU expressly requests the Department
                      to recognize formally that BYU is exempt from thc·application of this Section because
                      its provisipns are in conflict with religious teachings, tenets, and practices of The
                      Church of Jesus Christ of Latter-day Saints (hereinafter sometimes referred to as "the
                      Church" or ''the LDS Church"), a religious organization which sponsors and controls
                      BYU.

                             In 1989, your office,granted other BYU requests for exemption from other
                      sections of 34 CFR. Specifically, the Universi'ty was "...        exempted from the
                      requiremertts of the following sections of the Title IX regulation: 34 CFR §§ 106.31,
                                                        11
                      106.32, 106.36, 106.39, and 106.40 • The basis for this exemption was" ... that BYU
I
\                     is controlled by The Church of Jesus Christ of Latter-day" Saints (Church) and that



                       EXHIBIT C                                                                                   8
         ·~1•         Case 6:21-cv-00474-AA   Document 50-3    Filed 08/06/21   Page 9 of 20
          ·-secretary Cantu
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            BYU practices the tenets of the Church and is owned and operated by the Church.
            This relationship between the Church and the University adequately establishes that
            the University is controlled by a religious organization as is required for consideration
            for exemption under§ 106.2 of the Title IX regulation." (OCR letter,January 6, 1989
            to President Jeffrey R. Holland)

                  In our application letter of November 17, 1988, we noted, in part, that Brigham
           Young, President of the LDS Church, founded BYU in 1875 and since that time the
           Church has been continuously and ultimately responsible for the University's
           operation. The University's Board of Trustees consists of persons appointed by the
           presiding officers of the LDS Church, and all of the Trustees are General Officers of
           the Church, as is the University's President. The majority of the University's
           operating budget is derived from appropriations from the Church. Finally, the Board
           of Trustees not only sets hiring policy for the University but General Officers of the
           Church are directly involved in the hiring process for every full-time permanent
           faculty at the University.

                   The Church of Jesus Christ of Latter-day Saints is a major international
           Christian religion, having a fully developed theology, a well-known history spanning
           nearly two centuries, and a worldwide membership presently numbering
           approximately ten million. Its me~bers believe that the Church and its doctrine
           contain the .fullness of the Gospel of Jesus Christ, restored by direct revelation from
           God to Joseph Smith, who was called as a prophet in the Biblical sense in 1820. The
           governing Board of the Church consists of a First Presidency of three, along with a
           Quorum of Twelve Apostles, all of whom are regarded by the Church Membership
                                       1
           as Apostles and Prophets. While accepting the King James Version of the Bible as
           holy scripture, the Church also regards the Book of Mormon as another testament of
           Christ and as holy scripture. In addition, the Church also accepts prophetic writings
           as scripture and regards the teachings of current Church leaders as religious doctrine.

               Within this general framework, and with specific reference to this request for
          an exemption, the Church teaches that the family unit is of basic theological

                  1
iI              The First Presidency, as well as membersof the Quorum of the TwelveApostles,
 \
          amongothers, makeup the University'sBoard of Trustees.



            EXHIBIT C                                                                              9
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             · Secretary Cantu
               Page 3 .
     (         August 25, 1997


             significance and that the often independent roles of husbands and wives are
             fundamental elements of Church doctrine. Thus, the Church teaches that certain
             distinctions based on gender, particularly as they relate to matters of family life, are
             both natural and religiously significant. At the same time, the Church has a
             remarkable record of encouraging all of its members, male and female, to obtain as
             much education as possible and to participate fully in the communities in which they
             live.

                    Attached hereto as Exhibit "A" is a copy of an official pronouncement of the
             First Presidency and Quorum of the Twelve Apostles of The Church of Jesus Christ
             of Latter-day Saints dated September 23, 1995. This "Proclamation on the Family"
             makes the position of the Church with respect to the matters addressed in it
             abundantly clear and reaffirms certain family values and principles as Church doctrine,
             which is binding on the Church, its controlled organizations, like BYU, and the
             Church membership. Please note the significant emphasis on the importance of
             family and the differing roles of men and women in the family.

                    It is for this reason that the University may from time to time make a pre-
             employment inquiry as to the marital and family status of an applicant for a teaching
             position at the University. The Church teaches and we believe that such information
             about marital and family status is relevant, combined with other factors, in assessing
             the extent of an applicant's religious conviction and commitment to Church doctrine
             and practice as we attempt to identify those most qualified to teach at BYU.
             Naturally, questions about religious conviction will be wide-ranging and will include
             areas of inquiry about the support of Church leaders, morality, family life, and basic
             Church doctrine. The result of this broad inquiry will be that the University will
             have a better view as to whether the applicant has the necessary religious conviction
             and devotion to teach at BYU. We emphasize that answers to questions about family
             are not, by themselves, dispositive in the employment decision. Rather, they are
             considered, together with the answers to other religiously oriented questions, in
             measuring the religious strength and commitment of the applicant to Church doctrine
             and practice.

                    While this application deals with an exemption for faculty who teach, it is also
!\           true that the General Officer interview is required for all new permanent faculty, even




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               ·'secretary Cantu
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     .c.:\.     August 25, 1997
      ·· 1',




               those without fixed teaching assignments. Accordingly, we request that an exemption
               be granted from§ 106.60 of the Title IX regulation which extends to all new faculty
               hires at the University. Of course, at the heart of chis analysis is the holding in
               Corporationof the PresidingBishopvs. Amos,483 U.S. 327 (1987), which held that
               the religious exemptions of Title VII to the Civil Rights Act do not violate the
               establishment clause of the first amendment. Simply stated, Amos allows an
               institution like BYU, one which is owned or controlled by a Church, to exercise a
               religious hiring preference. That principle, in turn, permits the University to employ
               Church members who meet certain minimum standards of faithfulness and
               wholehearted commitment to Church teachings. 2

                      The University is a distinctive, religiously based institution with a serious
               commitment to the values, doctrines and mission of its sponsoring Church at the
               heart of its educational mission. Your prompt attention in evaluating this Notice will
               be greatly appreciated. If I, or any members of the University administration, can be
               of any assistance to you in completing your review, or if you require additional
               information, please contact me.

                                                                    Sincerely,




                                                                             r
                                                                    Merrill Bate
                                                                    President
               kk
               Enc.
               cc:  Ginger Yee, OCR




                       2
                        Lawsonv. Kirkham,499 F.Supp. 960, 965 (D. Utah 1980) establishes that the right of
(              religiously affiliated institutions to prefer their own in hiring matters necessarily involves the
'\             right "to employ those who best promote [their] religious mission .... "




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                    UNITED   STATES DEPARTMENT                OF EDUCATION
                                   OFFICE OF THE SECRETARY




Dr. Merrill J. Bateman
President
Brigham Young University                                              OCTI 4 1997
A-357 ASB
P.O. Box 21333
Provo, Utah 84602-1333

Dear Dr. Bateman:

The Office for Civil Rights (OCR) of the Department of Education has completed its
review of your letter, dated August 25, 1997, requesting a religious exemption for Brigham
Young University (the University), to the extent described in your letter, from 34 C.F.R.
§ 106.60, a provision of the Department's regulations implementing Title IX of the
Education Amendments of 1972. Based on the information provided in your letter, which
specifically referenced preemployment inquiries about marital status, but not about the
sex of the applicant, we construed your request to extend to 34 C.F.R. § 106.60(a), but not
§ 106.60(b). For this reason, only§ 106.60(a) is addressed in this response.

In your letter you provided information that establishes that the University is controlled
by a religious organization and that tenets followed by this organization conflict with the
requirements of§ 106.60(a). You described in your request letter certain policies practiced
at the University as being consistent with the tenets of the religious organization that
controls the University. These policies would violate § 106.60(a) absent a religious
exemption. Therefore, I am granting Brigham Young University an exemption to that
provision of the Title IX regulation as specified in your request letter. The exemption is
limited to the extent that compliance with the Title IX regulation conflicts with the
religious tenets followed by the University. Brigham Young University is hereby
exempted, to the extent requested in your letter, from the requirements of§ 106.60(a) of
the Title IX regulation. The basis for this decision to grant this exemption is discussed
in further detail below.

Your letter indicated that Brigham Young University is controlled by the Church of Jesus
Christ of Latter-day Saints (the Church) and that the University practices the tenets of
the Church and is owned and operated by the Church. This relationship between the
Church and the University adequately establishes that the University is controlled by a
religious organization as is required for consideration for exemption under§ 106.12 of the
Title IX regulation.

In your letter you indicated that all members of the University's Board of Trustees are
selected by the presiding officers of the Church, that the Trustees are all General Officers
of the Church, and that, as such, the Board of Trustees establishes the hiring policies for
every full-time faculty position at the University. In addition, your letter indicated that
General Officers of the Church are directly involved in the hiring process for every full-
time faculty position at the University. Your letter further indicated that, in this regard,


                          400 MARYLAND   AVE., S.W. WASHINGTON,   D.C. 20202

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     Page 2 - Dr. Merrill J. Bateman
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     one of the criteria that the University evaluates in hiring individuals for teaching and
     other permanent faculty positions at the University is the degree of the candidate's
     "religious conviction and commitment to Church doctrine and practice." Your letter also
     indicated that Church doctrine establishes certain values with respect to family life and
     morality and that, in order to evaluate a faculty candidate's commitment to Church
     doctrine and practice, including Church doctrine and practice relative to family life and
     morality, the University conducts a wide-ranging inquiry, which may include a
     preemployment inquiry as to the candidate's marital status. The practice of making a
     preemployment inquiry as to marital status would violate § 106.60(a) absent a religious
     exemption. Based on these principles, Brigham Young University has requested, and is
     granted by this letter, exemption, in connection with the employment of all new
     permanent faculty, from 34 C.F.R. § 106.60(a), which addresses preemployment inquiries
     as to marital status, to the extent that § 106.60(a) conflicts with the religious tenets
     followed by the University.

     This letter should not be construed to grant exemption from any provision of the Title IX
     regulation not specifically mentioned. In the event that OCR receives a complaint against
     the University, we are obligated to determine initially whether the allegations fall within
     the exemption here granted. Also, in the unlikely event that a complainant alleges that
     the practices followed by the University are not based on the religious tenets of the
     controlling organization, OCR is obligated to contact the controlling organization to verify
     those tenets. If the organization provides an interpretation of tenets that has a different
     practical impact than that described by the University, or if the organization denies that
     it controls the University, this exemption will be rescinded.

     I hope this letter responds fully to your request. If you have any questions, please do not
     hesitate to contact OCR's Denver office. The address and phone number are:

                         Ms. Lillian Gutierrez, Enforcement Director
                         U.S. Department of Education, Office for Civil Rights
                         Federal Building, Suite 310, 08-7010
                         1244 Speer Boulevard
                         Denver, CO 80204-3582
                         (303) 844-5695.

                                                    Sincerely,



                                                    Norma V. Cantu
                                                    Assistant Secretary
                                                      for Civil Rights

     cc: Ms. Lillian Gutierrez, Enforcement Director, Denver Office

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                            UNITED STATES DEPARTMENT OF EDUCATION
                                               OFFICE FOR CIVIL RIGHTS
                                                                                         TI-IE ASSISTANT SECRETARY




March 15, 2016

Dr. Clark G. Gilbert
President
Brigham Young University-Idaho
200 Kimball Building
Rexburg, ID 83460

Dear Dr. Gilbert:

I write to respond to your February 12, 2016, letter to the U.S. Department of Education, Office
for Civil Rights (OCR), in which you seek to confirm the scope of existing religious exemptions
for Brigham Young University-Idaho (BYU-Idaho or the University) of Rexburg, Idaho, from
Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. § 1681. Title IX prohibits
discrimination on the basis of sex in any education program or activity operated by a recipient of
Federal financial assistance.

The implementing regulation at 34 C.F .R. § I 06.12 provides that Title IX does not apply to an
educational institution controlled by a religious organization to the extent that application of
Title IX would be inconsistent with the controlling organization's religious tenets. Therefore,
such educational institutions are allowed to request an exemption from Title IX by identifying
the provisions of Title IX that conflict with a specific tenet of the religious organization. The
request must identify the religious organization that controls the educational institution and
specify the tenets of that organization and the provisions of the law or regulation that conflict
with those tenets.

Your letter references religious exemptions OCR granted to Ricks College in letters dated June
24, 1985 and June 22, 1988. You explain that "[i]n 2001 Ricks College became a four-year
undergraduate institution (as it had been many decades earlier) and was renamed Brigham
Young University-Idaho." Your letter states that BYU-Idaho is «sponsored and controlled by"
the Church of Jesus Christ of Latter-day Saints, as it was when the school was Ricks College.
According to your letter, the "Church has always been ultimately responsible for BYD-Idaho's
operation throughout its history. The governing board of the Church appoints the BYU-Idaho
Board of Trustees, and the majority of the BYU-Idaho operating budget is derived directly from
appropriations from the Church." Your letter asserts that the exemptions granted to Ricks
College (now applicable to BYD-Idaho) encompass Title IX's coverage of discrimination on the
basis of genderidentity. Becausethat basis was not specificallyaddressedin the previous
request letters, OCR will instead treat your letter as a new request for a religious exemption for
                              400 MARYLANDAVE.S.W., WASHINGTON, DC 20202-1100
                                               www.ed.gov
   The Department of Edurntion's mission is to promote .$tudent achievement and preparation for global competitivenes.,;
EXHIBIT C                    by fostering educational exce.llence and ensuring equal access.
                                                                                                                      14
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BYU-Idaho from Title IX to the extent that it prohibits discrimination on the basis of gender
identity.

Your letter references the University's treatment oftransgender individuals and its basis in the
teachings of the Church of Jesus Christ of Latter-day Saints. Specifically, you cite to a Church
publication entitled "The Family: a Proclamation to the World," which your letter explains says
"ALL HUMAN BEINGS-male and female-are created in the image of God. Each is a
beloved spirit son or daughter of heavenly parents, and, as such, each has a divine nature and
destiny. Gender is an essential characteristic of individual premortal, mortal, and eternal identity
and purpose." Thus, you explain, "as a religious tenet, gender is not simply socially determined
but is an essential characteristic of each person's eternal identity .... [I]n keeping with the
Church's teaching on gender, BYU-Idaho requires all students and employees to conduct their
lives in harmony with the Church's teachings and the University Standards."

The University notes that OCR granted Ricks College exemptions from a number of provisions
of the Title IX regulation, including 34 C.F.R. § 106.31 and 34 C.F.R. § 106.32. You state that
the "Department of Education's recent guidance construing sex to mean, among other things,
gender identity, does not affect BYD-Idaho's already existing exemptions." We interpret this as
a request for an exemption from all provisions from which Ricks College was exempt (and
BYD-Idaho is now exempt) to the extent that they prohibit discrimination on the basis of gender
identity, including the following:

    •   34 C.F.R. § 106.21 (governing admission);
    •   34 C.F.R. § 106.31 (governing education programs or activities);
    •   34 C.F.R. § 106.32 (governing housing);
    •   34 C.F.R. § 106.36 (governing counseling and use of appraisal and counseling materials);
    •   34 C.F.R. § 106.39 (governing health and insurance benefits and services);
    •   34 C.F.R. § 106.40 (governing different rules based on marital or parental status of
        students); and
    •   34 C.F.R. § 106.57 (governing different rules based on marital or parental status of
        employees).

The University is exempt from these provisions to the extent that they prohibit discrimination on
the basis of gender identity and compliance would conflict with the controlling organization's
religious tenets.

Please note that this letter should not be construed to grant exemption from the requirements of
Title IX and the regulation other than as stated above. In the event that OCR receives a
complaint against your institution, we are obligated to determine initially whether the allegations
fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
that the practices followed by the institution are not based on the religious tenets of the
controlling organization, OCR is obligated to contact the controlling organization to verify those
tenets. If the organizationprovidesan interpretationof tenets that has a different practical
impact than that described by the institution, or if the organization denies that it controls the




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Dr. Clark G. Gilbert- page 3


institution, this exemption will be rescinded.

I hope this letter responds fully to your request. If you have any questions, please do not hesitate
to contact me.

                                                      Sincerely,




                                                      Catherine E. Lhamon
                                                      Assistant Secretary for Civil Rights
                                                      U.S. Department of Education




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BYU                  Office of the President
IDAHO                Brigham Young University-Idaho • 200 Kimball Building• Rexburg, ID • 83460-1650




February 12, 2016




Ms. Catherine E. Lhamon
Assistant Secretary for Civil Rights
United States Department of Education
400 Maryland Avenue, SW
Washington, DC 20202-1100

Dear Ms. Lhamon:

RE:      BRIGHAM YOUNG UNIVERSITY-IDAHO'S                                   TITLE IX RELIGIOUS EXEMPTIONS

We are writing in response to the letter we received January 26, 2016, to affirm Brigham Young
University-Idaho's religious protections under Title IX of the Education Amendments of 1972
and the United States Constitution. 1

Title IX "is designed to eliminate (\\rith certain exceptions) discrimination on the basis of sex in
any education program or activity receiving Federal financial assistance." 2 One exception is that
private institutions of undergraduate higher education are exempt from Title IX with respect to
admissions and recruitment. 3 Another important exception is that Title IX "shall not apply to an
educational institution which is controlled by a religious organization if the application ...
would not be consistent with the religious tenets of such organization. " 4

BYU-Idaho shares and supports the goal of the Office for Civil Rights to eliminate sex
discrimination. As a religious institution of higher education, BYU-Idaho also has a
responsibility to teach the doctrine of its sponsoring institution, The Church of Jesus Christ of
Latter-day Saints (the Church). The formally stated mission of BYU-Idaho is to "develop
disciples of Jesus Christ who are leaders in their homes, the Church, and their communities." 5
The university does this by, among other things, "[b]uilding testimonies of the restored gospel of
Jesus Christ," "encouraging living its principles," and "[p]roviding a quality education for
students of diverse interests and abilities." 6 BYU-Idaho strives to create an environment in

1 Letter from Emily Hazen, Equal Opportunity  Specialist at OCR, to Clark G. Gilbert, President of BYU-
Idaho (Jan. 26, 2016).
2
  34 C.F.R. § 106.1 (2016).
3
  20 U.S.C. § 168l(a)(I) (2016); 34 C.F.R. § 106.IS(d).
4
  20 U.S.C. § l681(a)(3).
5 BYU-Idaho Mission Statement, available at http://byui.edu/about/our-mission.

6 Id.




Clark G. Gilbert   President   I   Phone: (208) 496-1111   Fax: (208) 496-1103    I   gilbertc@byui.edu
  EXHIBIT C                                                                                                               17
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which the restored gospel of Jesus Christ guides every aspect of the educational experience. In
these ways, the mission of BYU-Idaho is inextricably both spiritual and educational. 7 Religious
higher education institutions like BYU-Idaho contribute to the "diversity of institutions and
educational missions [that) is one of the key strengths of American higher education." 8

BYU-Idaho was originally established in 1888, and for much of its existence was known as
Ricks College. In 2001 Ricks College became a four-year undergraduate institution (as it had
been many decades earlier) and was renamed Brigham Young University-Idaho. BYU-Idaho is
sponsored and controlled by the Church. The Church has always been ultimately responsible for
BYD-Idaho's operation throughout its history. The governing board of the Church appoints the
BYU-Idaho Board of Trustees, and the majority of the BYU-Idaho operating budget is derived
directly from appropriations from the Church.

The Church is a major international Christian religion, with a fully developed theology, a well-
known history spanning nearly two centuries, and a worldwide membership presently numbering
over fifteen million. Its members believe that the Church and its doctrine contain the fullness of
the gospel of Jesus Christ, restored by direct revelation from God to Joseph Smith, who was
called in 1820 as a prophet in the Biblical sense. The Church's governing board comprises the
First Presidency and the Quorum of the Twelve Apostles, all of whom are sustained by Church
members as prophets, seers, and revelators. Members of the Church regard the Bible and the
Book of Mormon (another testament of Jesus Christ) as holy scripture. The Church also accepts
additional prophetic writings and the statements of current Church leaders as authoritative
religious teaching. Central to the Church's theology is the view that every human being is a son
or daughter of God who may be saved through the Atonement of Jesus Christ by obedience to
the laws and ordinances of His gospel.

BYU-Idaho affirms the dignity of all human beings. Consistent with the teachings of the Church,
BYU-Idaho recognizes the inherent agency, or free will, of each person. All students who apply
to and enroll at BYU-Idaho make a commitment to live the University Standards, including an
Honor Code, that are based on doctrines and practices of the Church and reflect the "moral



7 As we have maintained for over forty years in our correspondence     with the Department of Education
and its predecessor, the Department of Health, Education, and Welfare, BYU-Idaho considers itself
exempt from certain regulations and their related processes promulgated under Title IX by virtue of
protections in the U.S. Constitution and federal statutes. See Hall v. Lee Coll., Inc., 932 F. Supp. 1027,
1033 (E.D. Tenn. 1996) ("It may very well be that to claim the exemption found in the statute, an
educational institution need do nothing more than just raise the exemption."). However, in an effort to
continue to cooperate with your office, 1 am sending this letter in my capacity as president of BYU-Idaho
to you in your capacity as assistant secretary for Civil Rights at the Department of Education, as
34 C.F .R. § I 06. l 2(b) anticipates.
8
  20 U.S.C. § l01 la(a)(2)(A).


Clark G. Gilbert   President   I   Phone: (208) 496-1111   I   Fax: (208) 496-1103   I   gilbertc@byui.edu
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virtues encompassed in the gospel of Jesus Christ." 9 This commitment is acknowledged at the
time of application and must be reaffirmed each year in order to continue enrollment. Students
specifically agree to-among other things-live a chaste and virtuous life, respect others, and
observe certain dress and grooming standards. BYU-Idaho has adopted dress and grooming
standards that are different for men and women. The purpose of this distinction between genders
is based on religious tenets about our divine nature as children of God, the eternal nature of our
gender identity, and the purpose of our life on earth.

Members of the Church believe that "God created man in his own image, in the image of God
created he him; male and female created he them." 10 Modem-day scripture reiterates the truth
that God created all human beings in his own image and likeness, male and female. 11 In 1995,
the Church's First Presidency and Quorum of the Twelve Apostles issued "The Family: A
Proclamation to the World," which states: "ALL HUMAN BEINGS-male and female-are
created in the image of God. Each is a beloved spirit son or daughter of heavenly parents, and, as
such, each has a divine nature and destiny. Gender is an essential characteristic of individual
premortal, mortal, and eternal identity and purpose." 12 Therefore, as a religious tenet, gender is
not simply socially determined but is an essential characteristic of each person's eternal identity.

The Church has a history of encouraging all of its members, male and female, to obtain as much
education as possible and to participate fully in the economic, political, and social life of their
communities. 13 BYU-Idaho strives to contribute to that effort by providing a broad
undergraduate education and facilitating internship, employment, and service opporttmities.
However, in keeping with the Church's teaching on gender, BYU-Idaho requires all students and
employees to conduct their lives in hannony with the Church's teachings and the University
Standards.

The complaint against BYU-Idaho alleges discrimination on the basis of sex with respect to a
transgender student. 14 Although the letter we received does not specify which Title IX


9
  BYU-Idaho University Standards 58 (2015-2016) (stating that "[s]tudents must be in good honor code
standing to be admitted to, continue enrollment at, and graduate from BYU-Idaho"), available at
http://www.byui.edu/Documents/catalog/2015-20 l 6/University%20Standards.pdf.
10
   Genesis 1:27; see also Matthew 19:4.
11
   Moses 2:27; Doctrine and Covenants 20: 18.
12
   We sent a copy of The Family: A Proclamation to the World to your office in 1998. Letter from David
A. Bednar, President of Ricks College, to Nonna Cantu, Assistant Secretary for Civil Rights (Mar. 12,
1998).
13
   This also reflects a religious tenet of the Church. See Doctrine and Covenants 88:77-80; 109:7.
14
   The Department of Education's position that Title IX's definition of"sex" includes gender identity is
not anywhere defined in statute or regulation. Johnston v. Univ. of Pittsburgh of Commorrwealth Sys. of
Higher Educ., 97 F. Supp. 3d 657, 674 (W.D. Pa. 2015) (stating that "Title IX does not prohibit
discrimination on the basis of transgender itself because transgender is not a protected characteristic under


Clark G. Gilbert   President   I   Phone: (208) 496-1111   I   Fax: (208) 496-1103   I   gilbertc@byui.edu
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regulations may apply, it appears that all of the allegations relate to regulations regarding
education programs or activities and housing. The Office for Civil Rights has already determined
that BYU-Idaho is exempt from the application of 34 C.F.R. § 106.31 and § 106.32 to the extent
they conflict with the Church's religious tenets. 15 The Department of Education's recent
guidance construing sex to mean, among other things, gender identity, does not affect BYU-
Idaho' s already existing exemptions.

We appreciate your commitment to resolving complaints as promptly as possible. In a similar
situation, the regional office closed a complaint for lack of jurisdiction. 16 Based on the existing
exemptions, and as required by the statutory text of Title IX, that same approach is appropriate
here. If I or any members of BYD-Idaho's administration can be of any assistance to you, or if
you require additional information, please contact me.




President




the statute" and noting there is "no federal court case that has squarely decided this issue in the Title IX
context").
15 "Ricks College is hereby exempted from the requirements of the following sections of the Title IX

regulation: ... § 106.31, § 106.32." Letter from Harry M. Singleton, Assistant Secretary for Civil Rights,
to Dr. Bruce C. Hafen, President of Ricks College (June 24, 1985).
16 Letter from LeGree S. Daniels, Assistant Secretary for Civil Rights, to Dr. Joe J. Christensen, President

of Ricks College (June 22, l 988) (recounting that the regional office had received a complaint and
subsequently closed it for lack of jurisdiction).


Clark G. GIibert   President   I   Phone: (208) 496-1111   I   Fax: (208) 496-1103   I   gilbertc@byui.edu
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